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AO 245B (Rev. 09/08) Sheet 1 - Judgment in a Criminal Case



                                        United States District Court
                                        Southern District of Ohio at Cincinnati

          UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                   v.

                      Angel Martinez                                   Case Number:                 1:14-CR-058-03

                                                                       USM Number:                  72364-061


                                                                       Dennis Lee Adams, Esq.
                                                                       Defendant's Attorney

THE DEFENDANT:

[•]      pleaded guilty to count(s): One of the Indictment,
[]       pleaded nolo contendere to counts(s)       which was accepted by the court.
[]       was found guilty on count(s)     after a plea of not guilty.

         The defendant is adjudicated guiltyof these offense(s):

Title & Section                          Nature of Offense                                Offense Ended             Count
21 U.S.C. §§841 (a)(1),                 Conspiracy to Distribute One Kilogram or more of Heroin                     One
 841 (b)(1 )(A)(i), (ii) and 846         and Cocaine




       The defendant is sentenced as provided in pages 2 through _5_ of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guiltyon counts(s)            .

[•]      Count Four of the Indictment is dismissed on the motion of the United States.

        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. Ifordered to pay restitution, the defendant must notifythe court and the United States Attorney of
material changes in the defendant's economic circumstances.

                                                                                              June17,_2015
                                                                                 Date of Imposition of Judgment



                                                                                   Signature of Judicial Officer

                                                                 SANDRA S. BECKWITH, United States Senior District Judge
                                                                                 Name & Title of Judicial Officer



                                                                                              *4^=
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